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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF NEW YORK

    STEVEN HACKBARTH,                                 Case No:

            Plaintiff,
                                                      JURY TRIAL DEMANDED
            v.

    STAMPS.COM INC., KEN MCBRIDE,
    MOHAN P. ANANDA, DAVID C.
    HABIGER, G. BRADFORD JONES,
    KATIE MAY, and THEODORE R.
    SAMUELS,

            Defendants.


      COMPLAINT FOR VIOLATIONS OF THE FEDERAL SECURITIES LAWS

       Plaintiff Steven Hackbarth (“Plaintiff”), by Plaintiff’s undersigned attorneys, for Plaintiff’s

complaint against Defendants (defined below), alleges the following based upon personal

knowledge as to Plaintiff and Plaintiff’s own acts, and upon information and belief as to all other

matters, based upon, inter alia, the investigation conducted by and through Plaintiff’s attorneys.

                                  NATURE OF THE ACTION

       1.        This is an action against Stamps.com Inc. (“Stamps.com” or the “Company”) and

its Board of Directors (the “Board” or the “Individual Defendants”) for their violations of Sections

14(a) and 20(a) of the Securities Exchange Act of 1934 (the “Exchange Act”), 15 U.S.C. §§ 78n(a)

and 78t(a), and Rule 14a-9 promulgated thereunder by the SEC, 17 C.F.R. § 240.14a-9, in

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connection with the proposed acquisition (the “Proposed Transaction”) of Stamps.com by Stream

Parent, LLC (“Parent”) and Stream Merger Sub, Inc. (“Merger Sub”), a wholly owned subsidiary

of Parent. Parent and Merger Sub are entities that are affiliated with Thoma Bravo, L.P. (“Thoma

Bravo”), a private equity investment firm.

                                 JURISDICTION AND VENUE

       2.      The claims asserted herein arise under and pursuant to Sections 14(a) and 20(a) of

the Exchange Act (15 U.S.C. §§ 78n(a) and 78t(a)) and Rule 14a-9 promulgated thereunder by the

SEC (17 C.F.R. § 240.14a-9).

       3.      This Court has jurisdiction over the subject matter of this action pursuant to 28

U.S.C. § 1331, and Section 27 of the Exchange Act, 15 U.S.C. § 78aa.

       4.      Venue is proper in this District pursuant to 28 U.S.C. § 1391(b) and Section 27 of

the Exchange Act (15 U.S.C. § 78aa(c)) as a substantial portion of the transactions and wrongs

complained of herein had an effect in this District, and the alleged misstatements entered and the

subsequent damages occurred in this District.

       5.      In connection with the acts, conduct and other wrongs alleged in this complaint,

Defendants, directly or indirectly, used the means and instrumentalities of interstate commerce,

including but not limited to, the United States mails, interstate telephone communications and the

facilities of the national securities exchange.

                                             PARTIES

       6.      Plaintiff is, and has been at all relevant times hereto, an owner of Stamps.com

common stock.




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       7.      Defendant Stamps.com provides Internet-based mailing and shipping solutions in

the United States and Europe. The Company is incorporated in Delaware. The Company’s

common stock trades on the NASDAQ under the ticker symbol, “STMP.”

       8.      Defendant Ken McBride (“McBride”) is Chief Executive Officer and Chairman of

the Board of the Company.

       9.      Defendant Mohan P. Ananda (“Ananda”) is a director of the Company.

       10.     Defendant David C. Habiger (“Habiger”) is a director of the Company.

       11.     Defendant G. Bradford Jones (“Jones”) is a director of the Company.

       12.     Defendant Katie May (“May”) is a director of the Company.

       13.     Defendant Theodore R. Samuels (“Samuels”) is a director of the Company.

       14.     Defendants McBride, Ananda, Habiger, Jones, May, and Samuels are collectively

referred to herein as the “Individual Defendants.”

       15.     Defendants Stamps.com and the Individual Defendants are collectively referred to

herein as the “Defendants.”

                               SUBSTANTIVE ALLEGATIONS

   A. The Proposed Transaction

       16.     On July 9, 2021, Stamps.com announced that it had entered into a definitive

agreement to be acquired by Thoma Bravo in an all-cash transaction. Under the terms of the

agreement, Stamps.com stockholders will receive $330.00 per share. The press release announcing

the Proposed Transaction states, in pertinent part:

       Stamps.com Enters Definitive Agreement to be Acquired by Thoma Bravo in
                               $6.6 Billion Transaction

       Stamps.com Stockholders to Receive $330.00 Per Share in Cash

       July 09, 2021 07:30 AM Eastern Daylight Time


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EL SEGUNDO, Calif. & SAN FRANCISCO--(BUSINESS WIRE)--Stamps.com®
(NASDAQ: STMP) (the “Company”), a leading provider of e-commerce shipping
solutions, today announced that it has entered into a definitive agreement to be
acquired by Thoma Bravo, a leading software investment firm, in an all-cash
transaction that values Stamps.com at approximately $6.6 billion.

Under the terms of the agreement, Stamps.com stockholders will receive $330.00
per share in cash representing a premium of 67 percent over the Company’s closing
share price on July 8, 2021, the last full trading day prior to the transaction
announcement. The premium is 71 percent over the Company’s three-month
volume-weighted average closing share price through July 8, 2021. Upon
completion of the transaction, Stamps.com will become a private company with the
flexibility and resources to continue to provide best-in-class global e-commerce
technology solutions. Additionally, Stamps.com will benefit from the operating
capabilities, capital support and deep sector expertise of Thoma Bravo – one of the
most experienced and successful software and technology investors in the world.

                                   *       *       *

Transaction Details

Stamps.com’s Board of Directors (the “Board”) has unanimously approved the
agreement with Thoma Bravo and recommends that Stamps.com stockholders vote
in favor of the transaction at the Special Meeting of Stockholders to be called in
connection with the transaction.

The agreement includes a 40-day “go-shop” period expiring August 18, 2021 which
allows the Board and its advisors to actively initiate, solicit and consider alternative
acquisition proposals from third parties. The Board will have the right to terminate
the merger agreement to enter into a superior proposal subject to the terms and
conditions of the merger agreement. There can be no assurance that this “go-shop”
will result in a superior proposal, and Stamps.com does not intend to disclose
developments with respect to the solicitation process unless and until it determines
such disclosure is appropriate or otherwise required.

The transaction is expected to close in the third quarter of 2021, subject to
customary closing conditions, including approval by Stamps.com stockholders and
receipt of regulatory approvals. Upon closing of the transaction, the Company’s
common stock will no longer be listed on any public market. The Company will
continue to be headquartered in El Segundo, California.

Advisors

J.P. Morgan Securities LLC is acting as exclusive financial advisor to Stamps.com
and Proskauer Rose LLP is acting as its legal counsel. Debt financing for the
transaction is being provided by Blackstone Credit, credit funds managed by Ares


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       Management Corporation, PSP Investments Credit II USA LLC and Thoma Bravo
       Credit. Kirkland & Ellis LLP is serving as legal advisor for Thoma Bravo.

       About Stamps.com

       Stamps.com (NASDAQ: STMP) is the leading provider of e-commerce shipping
       software solutions to customers including consumers, small businesses, e-
       commerce shippers, enterprises, and high volume shippers. Stamps.com offers
       solutions that help businesses run their shipping operations more smoothly and
       function more successfully under the brand names Stamps.com, Endicia®,
       ShipStation®, ShipEngine®, ShippingEasy®, ShipWorks®, GlobalPost and
       Metapack™. Stamps.com’s family of brands provides seamless access to mailing
       and shipping services through integrations with more than 500 unique partner
       applications.

       About Thoma Bravo

       Thoma Bravo is one of the largest private equity firms in the world, with more than
       $78 billion in assets under management as of March 31, 2021. The firm invests in
       growth-oriented, innovative companies operating in the software and technology
       sectors. Leveraging the firm's deep sector expertise and proven strategic and
       operational capabilities, Thoma Bravo collaborates with its portfolio companies to
       implement operating best practices, drive growth initiatives and make accretive
       acquisitions intended to accelerate revenue and earnings. Over the past 20 years,
       the firm has acquired more than 300 companies representing over $85 billion in
       enterprise value. The firm has offices in Chicago, Miami and San Francisco. For
       more information, visit thomabravo.com.

       17.     On August 30, 2021, the Company filed a Schedule 14A Definitive Proxy

Statement under Section 14(a) of the Exchange Act (the “Proxy Statement”) with the SEC in

connection with the Proposed Transaction.

   B. The Proxy Statement Contains Materially False and Misleading Statements and
      Omissions

       18.     The Proxy Statement, which recommends that Stamps.com shareholders vote in

favor of the Proposed Transaction, omits and/or misrepresents material information concerning:

(i) Stamps.com’s financial projections; (ii) the financial analyses performed by Stamps.com’s

financial advisor, J.P. Morgan Securities LLC (“J.P. Morgan”), in connection with its fairness

opinion; (iii) potential conflicts of interest involving J.P. Morgan; and (iv) the sales process leading



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up to the Proposed Transaction.

       19.      The omission of the material information (referenced below) renders the following

sections of the Proxy Statement false and misleading, among others: (i) Background of the Merger;

(ii) Recommendation of the Board of Directors and Reasons for the Merger; (iii) Opinion of J.P.

Morgan; and (iv) Management Projections.

       20.      Unless and until the material misstatements and omissions (referenced below) are

remedied before the September 30, 2021 shareholder vote on the Proposed Transaction,

Stamps.com shareholders will be forced to make a voting decision on the Proposed Transaction

without full disclosure of all material information. In the event the Proposed Transaction is

consummated, Plaintiff may seek to recover damages resulting from Defendants’ misconduct.

             1. Material Omissions Concerning Stamps.com’s Financial Projections

       21.      The Proxy Statement omits material information concerning Stamps.com’s

financial projections.

       22.      With respect to the “Management Projections,” the Proxy Statement fails to

disclose: (1) all line items underlying (i) Revenue, (ii) Adjusted EBITDA, (iii) EBIT, (iv) EBIAT,

and (v) Free Cash Flow; (2) Stamps.com’s net income projections; and (3) a reconciliation of all

non-GAAP to GAAP metrics.

       23.      The disclosure of this information is material because it would provide the

Company’s shareholders with a basis to project the future financial performance of the Company

and would allow shareholders to better understand the financial analyses performed by the

Company’s financial advisor in support of its fairness opinion. Shareholders cannot hope to

replicate management’s inside view of the future prospects of the Company. Without such

information, which is uniquely possessed by Defendant(s) and the Company’s financial advisor,

the Company’s shareholders are unable to determine how much weight, if any, to place on the

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Company’s financial advisor’s fairness opinion in determining whether to vote for or against the

Proposed Transaction.

       24.      When a company discloses non-GAAP financial metrics in a Proxy Statement that

were relied upon by its board of directors in recommending that shareholders exercise their

corporate suffrage rights in a particular manner, the company must also disclose, pursuant to SEC

Regulation G, all projections and information necessary to make the non-GAAP metrics not

misleading, and must provide a reconciliation (by schedule or other clearly understandable

method) of the differences between the non-GAAP financial metrics disclosed or released with the

most comparable financial metrics calculated and presented in accordance with GAAP. 17 C.F.R.

§ 244.100. 1

       25.      The above-referenced omitted information, if disclosed, would significantly alter

the total mix of information available to the Company’s shareholders.

             2. Material Omissions Concerning J.P. Morgan’s Analyses

       26.      In connection with the Proposed Transaction, the Proxy Statement omits material

information concerning analyses performed by J.P. Morgan.

       27.      The Proxy Statement fails to disclose the following concerning J.P. Morgan’s

“Discounted Cash Flow Analysis”: (1) the Company’s unlevered free cash flow projections, and

all underlying line items; (2) the range of terminal asset values of Stamps.com; and (3) the



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  Mary Jo White, Keynote Address, International Corporate Governance Network Annual
Conference: Focusing the Lens of Disclosure to Set the Path Forward on Board Diversity, Non-
GAAP, and Sustainability (June 27, 2016), https://www.sec.gov/news/speech/chair-white-icgn-
speech.html (footnotes omitted) (last visited Aug. 31, 2021) (“And last month, the staff issued
guidance addressing a number of troublesome practices which can make non-GAAP disclosures
misleading: the lack of equal or greater prominence for GAAP measures; exclusion of normal,
recurring cash operating expenses; individually tailored non-GAAP revenues; lack of consistency;
cherry-picking; and the use of cash per share data. I strongly urge companies to carefully consider
this guidance and revisit their approach to non-GAAP disclosures.”).

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individual inputs and assumptions underlying the (i) perpetual growth rate ranging from 2.5% to

3.5%, and (ii) range of discount rates from 9% to 10%.

        28.      The Proxy Statement fails to disclose the following concerning J.P. Morgan’s

“Analyst Price Targets for Stamps.com” analysis: (1) the individual price targets observed by J.P.

Morgan in its analysis; and (2) the sources thereof.

        29.      The valuation methods, underlying assumptions, and key inputs used by

J.P. Morgan in rendering its purported fairness opinion must be fairly disclosed to Stamps.com

shareholders. The description of J.P. Morgan’s fairness opinion and analyses, however, fails to

include key inputs and assumptions underlying those analyses. Without the information described

above, Stamps.com shareholders are unable to fully understand J.P. Morgan’s fairness opinion and

analyses, and are thus unable to determine how much weight, if any, to place on them in

determining whether to vote for or against the Proposed Transaction. This omitted information, if

disclosed, would significantly alter the total mix of information available to the Company’s

shareholders.

              3. Material Omissions Concerning Potential Conflicts of Interest Involving J.P.
                 Morgan

        30.      The Proxy Statement omits material information concerning potential conflicts of

interest involving J.P. Morgan.

        31.      The Proxy Statement fails to disclose the timing and nature of the past and current

services J.P. Morgan and/or its affiliates provided and are providing to Thoma Bravo and/or its

affiliates.

        32.      Disclosure of a financial advisor’s compensation and potential conflicts of interest

to shareholders is required due to their central role in the evaluation, exploration, selection, and

implementation of strategic alternatives and the rendering of any fairness opinions. Disclosure of


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a financial advisor’s potential conflicts of interest may inform shareholders on how much weight

to place on that analysis.

       33.      The omission of the above-referenced information renders the Proxy Statement

materially incomplete and misleading. This information, if disclosed, would significantly alter the

total mix of information available to the Company’s shareholders.

             4. Material Omissions Concerning the Sales Process Leading up to the Proposed
                Transaction

       34.      The Proxy Statement omits material information concerning the sales process

leading up to the Proposed Transaction.

       35.      The Proxy Statement provides that, during the “go-shop” period, “Stamps.com

executed confidentiality agreements with three parties.”

       36.      The Proxy Statement, however, fails to disclose the terms of the Company’s

confidentiality agreements with such parties, including whether such agreements contained

standstill provisions with “don’t ask, don’t waive” (DADW) provisions (including their time of

enforcement) that would preclude potentially interested parties from making superior offers for

the Company.

       37.      Without this information, Stamps.com shareholders may have the mistaken belief

that potential suitors are or were permitted to submit superior proposals for the Company, when in

fact they are or were contractually prohibited from doing so. This information is material because

a reasonable Stamps.com shareholder would want to know, prior to voting for or against the

Proposed Transaction, whether other potential buyers are or were foreclosed from submitting a

superior proposal.

       38.      The above-referenced omitted information, if disclosed, would significantly alter

the total mix of information available to the Company’s shareholders.


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                                          COUNT I
          For Violations of Section 14(a) and Rule 14a-9 Promulgated Thereunder
                                   Against All Defendants
        39.     Plaintiff repeats and realleges each and every allegation contained above as if fully

set forth herein.

        40.     During the relevant period, Defendants, individually and in concert, directly or

indirectly, disseminated or approved the false and misleading Proxy Statement specified above,

which failed to disclose material facts necessary in order to make the statements made, in light of

the circumstances under which they were made, not misleading, in violation of Section 14(a) of

the Exchange Act and Rule 14a-9 promulgated thereunder by the SEC.

        41.     Each of the Individual Defendants, by virtue of his/her positions within the

Company as officers and/or directors, were aware of the omitted information but failed to disclose

such information, in violation of Section 14(a) of the Exchange Act. Defendants, by use of the

mails and means and instrumentalities of interstate commerce, solicited and/or permitted the use

of their names to file and disseminate the Proxy Statement with respect to the Proposed

Transaction. The Defendants were, at minimum, negligent in filing the materially false and

misleading Proxy Statement.

        42.     The false and misleading statements and omissions in the Proxy Statement are

material in that a reasonable shareholder would consider them important in deciding how to vote

on the Proposed Transaction.

        43.     By reason of the foregoing, Defendants have violated Section 14(a) of the Exchange

Act and Rule 14a-9 promulgated thereunder.

        44.     Because of the false and misleading statements and omissions in the Proxy

Statement, Plaintiff is threatened with irreparable harm.




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                                            COUNT II
                         Violations of Section 20(a) of the Exchange Act
                               Against the Individual Defendants

       45.     Plaintiff repeats and realleges each and every allegation contained in the foregoing

paragraphs as if fully set forth herein.

       46.     The Individual Defendants acted as control persons of the Company within the

meaning of Section 20(a) of the Exchange Act as alleged herein. By virtue of their senior positions

as officers and/or directors of the Company and participation in and/or awareness of the

Company’s operations and/or intimate knowledge of the false statements contained in the Proxy

Statement filed with the SEC, they had the power to and did influence and control, directly or

indirectly, the decision-making of the Company, including the content and dissemination of the

false and misleading Proxy Statement.

       47.     Each of the Individual Defendants was provided with or had unlimited access to

copies of the Proxy Statement and other statements alleged by Plaintiff to be misleading prior to

and/or shortly after these statements were issued and had the ability to prevent the issuance of the

statements or cause the statements to be corrected. As officers and/or directors of a publicly owned

company, the Individual Defendants had a duty to disseminate accurate and truthful information

with respect to the Proxy Statement, and to correct promptly any public statements issued by the

Company which were or had become materially false or misleading.

       48.     In particular, each of the Individual Defendants had direct and supervisory

involvement in the operations of the Company, and, therefore, is presumed to have had the power

to control or influence the particular transactions giving rise to the securities violations as alleged

herein, and exercised the same. The Individual Defendants were provided with or had unlimited

access to copies of the Proxy Statement and had the ability to prevent the issuance of the statements




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or to cause the statements to be corrected. The Proxy Statement at issue contains the

recommendation of the Individual Defendants to approve the Proposed Transaction. Thus, the

Individual Defendants were directly involved in the making of the Proxy Statement.

       49.     In addition, as the Proxy Statement sets forth at length, and as described herein, the

Individual Defendants were involved in negotiating, reviewing, and approving the Proposed

Transaction. The Proxy Statement purports to describe the various issues and information that they

reviewed and considered—descriptions which had input from the Individual Defendants.

       50.     By virtue of the foregoing, the Individual Defendants have violated Section 20(a)

of the Exchange Act.

       51.     As set forth above, the Individual Defendants had the ability to exercise control

over and did control a person or persons who have each violated Section 14(a) and Rule 14a-9

promulgated thereunder, by their acts and omissions as alleged herein. By virtue of their positions

as controlling persons, the Individual Defendants are liable pursuant to Section 20(a) of the

Exchange Act. As a direct and proximate result of Defendants’ conduct, the Company’s

shareholders will be irreparably harmed.

                                    PRAYER FOR RELIEF

       WHEREFORE, Plaintiff prays for judgment and relief as follows:

       A.      Preliminarily and permanently enjoining Defendants and all persons acting in

concert with them from proceeding with, consummating, or closing the Proposed Transaction and

any vote on the Proposed Transaction, unless and until Defendants disclose and disseminate the

material information identified above to Company shareholders;

       B.      In the event Defendants consummate the Proposed Transaction, rescinding it and

setting it aside or awarding rescissory damages;




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       C.      Declaring that Defendants violated Sections 14(a) and 20(a) of the Exchange Act,

and Rule 14a-9 promulgated thereunder;

       D.      Awarding Plaintiff reasonable costs and expenses incurred in this action, including

counsel fees and expert fees; and

       E.      Granting such other and further relief as the Court may deem just and proper.

                                    JURY TRIAL DEMANDED

       Plaintiff hereby demands a trial by jury.

Dated: August 31, 2021                              Respectfully submitted,

                                                    HALPER SADEH LLP

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                                                    vice)
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